         Schweet Linde & Coulson, PLLC                           Honorable Chief Judge Whitman L. Holt
 1       575 S. Michigan Street                                  Chapter 11
 2       Seattle, WA 98108
         P: (206) 275-1010
 3       F: (206) 381-0101

 4

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 8
                             IN THE UNITED STATES BANKRUPTCY COURT
 9
                                 EASTERN DISTRICT OF WASHINGTON
10       In re:
                                                              Case No.: 20-01469-WLH11
11       MCCARY MEATS, LLC,
                                                              SUBPOENA DUCES TECUM
12                                                Debtor.
13

14   TO:                MCCARY MEATS, LLC
                        C/O JOHN O’LEARY
15                      GRAVIS LAW, PLLC
                        601 WEST KENNEWICK AVE
16
                        KENNEWICK, WA 99336
17                YOU ARE COMMANDED to designate an agent to appear on behalf of McCary Meats,
18   LLC, pursuant to a court order issued under Fed. R. Bankr. P. 2004, at the place, date, and time
19   specified below to testify at the taking of a deposition, which may be audio or stenographically
20   recorded in the presence of a court reporter, in the above case.
21   PLACE:                   Offices of Schweet Linde & Coulson, PLLC,
                              575 S. Michigan St., Seattle, WA 98108 1
22
     DATE & TIME:             October __, 2021, at 9:30 a.m. prevailing Pacific Time
23
                  YOU ARE FURTHER COMMANDED to produce and permit inspection and copying
24
     of the documents or objects listed on attached Exhibit A at the place, date and time specified below:
25

26
     1
      Deposition may take place using remote applications such as Zoom, Microsoft Teams, Skype, or other telephonic
     or remote video applications.

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                                                                                       575 S. MICHIGAN ST.
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     PLACE:                      Offices of Schweet Linde & Coulson, PLLC,
 1                               575 S. Michigan St., Seattle, WA 98108 2
 2
     DATE & TIME:                October __, 2021, at 5:00 p.m. prevailing Pacific Time
 3

 4
     ISSUING OFFICER SIGNATURE AND TITLE                                     DATE: September ___, 2021.
 5

 6   Michael L. Parrott, Attorney, WSBA #55703

 7   ISSUE OFFICER’S NAME, ADDRESS, AND PHONE NUMBER
     Michael L. Parrott
 8   575 S. Michigan St.
     Seattle, WA 98108
 9
     (206) 381-0136
10

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         Documents may also be produced electronically as agreed to by the issuing attorney

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 1                                                EXHIBIT A
 2                                     I.          INSTRUCTIONS
 3           To the extent you assert a privilege regarding production of documents or other
 4   information, you are required to provide a log of such documents that (1) identifies the document,
 5   (2) provides a clear statement of grounds for the asserted privilege, (3) identifies the date of the
 6   document, and (4) provide a description of the document sufficient for evaluation of the asserted
 7   privilege.
 8
                                            II.    DEFINITIONS
 9

10           As used throughout this Exhibit, the following definitions apply:

11
        A. “And” shall also mean “or” and vice versa as necessary to give the particular interrogatory
12         the broadest and most inclusive scope.

13      B. “Any” shall also mean “all” and vice versa as necessary to give the particular interrogatory
           the broadest and most inclusive scope.
14
        C. “Bankruptcy” shall mean the Chapter 11 bankruptcy filed by McCary Meats, LLC in the
15         Eastern District of Washington Bankruptcy Court under Case No. 20-01469-WLH11.
16
        D. “Bank Accounts” shall mean any and all accounts Debtor has/had an interest in since the
17         Petition Date, including but not limited to, checking accounts, savings accounts, investment
           accounts, money-market accounts, and/or retirement accounts.
18
        E. “Communication” shall mean any transmission of information by written or oral
19         communication (e.g., letter, memorandum, meeting, face to face conversation or telephone
           conversation), regardless of the medium by which such communication occurred, and any
20         process by which information is transmitted.
21      F. “Covered Dates” shall mean March 1, 2021 through August 31, 2021
22
        G. “Date” shall mean the day of the month, the month and the year. If only the approximate
23         date is known or available, state the approximate date, indicating that it is the approximate
           date.
24
        H. “Debtor” shall mean the Debtor in the Bankruptcy: McCary Meats, LLC.
25

26      I.    “Document” or “Documentation” shall mean any instrument on which is recorded letters,
             figures, marks or other conventional symbols so as to represent ideas on material
             substances, including but not limited to writings by hand, typed words, printed or
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          lithographed words, photographs, pictures, slides, videotapes, microfilm, electronic or
 1        magnetic recordings, computer input or print-outs, computer tapes or disks, computer files,
          electronic mail, prints, maps and plats. It includes any document of which you have
 2        possession or of which you have the right to obtain the original or a copy from another
          person or entity having actual possession thereof. If any document was, but is no longer
 3        in your possession or subject to your control, identify the document and state its present
          location or the disposition made of it and the date thereof.
 4

 5     J. “Draft” or “Drafted” shall mean the process of handwriting or the utilization of a word
          processor or other mechanism to prepare a draft or final document.
 6
       K. “Identify” when used in reference to a natural person requires you to state that person’s full
 7        name, last known address, home and business telephone number and current business
          affiliation; when used in reference to an entity other than a natural person requires you to
 8        describe the nature of the entity (partnership, corporation, etc.) and state the last known
          address, including registered agent address, telephone number and principal place of
 9        business; and when used in reference to a document requires you to state the date, author,
          signors and type of document (letter, memorandum, etc.). Once a person, entity or
10        document has been identified properly, it is sufficient to state the name only in subsequent
          responses.
11

12     L. “Person”, “Persons”, and/or “Person(s)” shall mean any natural person or individual or any
          legal or governmental entity (including, without limitation, any corporation, company,
13        partnership, association, joint venture, trust, public agency, political subdivision,
          department, bureau, or board).
14
       M. “Petition Date” shall mean July 24, 2020.
15

16     N. “Plan” shall mean the Debtor’s confirmed plan of reorganization filed in the Bankruptcy
          at ECF Dkt. 80.
17
       O. “Relating to” (or a form thereof) shall mean constituting, concerning, reflecting,
18        representing, supporting, contradicting, referring to, stating, describing, recording, noting,
          embodying, containing, mentioning, studying, analyzing, discussing, evaluation, or
19        relevant to. As indicated, the term necessarily includes information that is in opposition to
          as well as in support of your position(s) and claim(s) in this action.
20

21     P. “Schedules” shall mean Debtor’s Official Forms 106A/B through 106J filed in the
          Bankruptcy at ECF No. 1, and any subsequent amendments thereto.
22
       Q. “SoFA” shall mean Debtor’s Official Form 107 filed in the Bankruptcy at ECF No. 1, and
23        any subsequent amendments thereto.

24     R. “Tax Returns” shall mean any report required to be submitted to a local, state or federal
          agency to which the Debtor is obligated to make such a report.
25

26


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                          III.   DOCUMENTS FOR PRODUCTION
 1

 2     1. Please produce a statement of all cash receipts and disbursements by or from Debtor for
          the Covered Dates.
 3

 4     2. Please produce a monthly profit and loss statement for the Debtor for the Covered Dates.

 5     3. Please produce all statements for the Covered Dates for Bank Accounts.
 6
       4. Please produce all Tax Returns filed by the Debtor during the Covered Dates.
 7
       5. Please produce a current accounts receivable aging report for the Debtor as of August 31,
 8        2021.
 9
       6. Please produce a current accounts payable aging report for the Debtor as of August 31,
10        2021.

11     7. Please produce proof of payment for any obligation paid pursuant to the Plan during the
12        Covered Dates.

13     8. Please produce proof of payment for any distributions by Debtor to Deanna McCary or
          Rick McCary during the Covered Dates.
14

15     9. Please produce an account summary for all merchant accounts of the Debtor, including,
          but not necessarily limited to, Square.
16

17     10. Please produce a check register for the Debtor for the Covered Dates.

18
          PLEASE SEE THE FOLLOWING PAGES FOR IMPORTANT INFORMATION
19
              REGARDING YOUR DUTIES PURSUANT TO THIS SUBPOENA
20

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 1                                         Fed. R. Civ. P. 45(d) and (e)

 2   (d) Protecting a Person Subject to a Subpoena; Enforcement.
 3
     (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney responsible for issuing and serving
 4   a subpoena must take reasonable steps to avoid imposing undue burden or expense on a person subject to
     the subpoena. The court for the district where compliance is required must enforce this duty and impose an
 5   appropriate sanction—which may include lost earnings and reasonable attorney's fees—on a party or
     attorney who fails to comply.
 6
     (2) Command to Produce Materials or Permit Inspection.
 7
     (A) Appearance Not Required. A person commanded to produce documents, electronically stored
 8   information, or tangible things, or to permit the inspection of premises, need not appear in person at the
     place of production or inspection unless also commanded to appear for a deposition, hearing, or trial.
 9

10   (B) Objections. A person commanded to produce documents or tangible things or to permit inspection may
     serve on the party or attorney designated in the subpoena a written objection to inspecting, copying, testing
11   or sampling any or all of the materials or to inspecting the premises—or to producing electronically stored
     information in the form or forms requested. The objection must be served before the earlier of the time
12   specified for compliance or 14 days after the subpoena is served. If an objection is made, the following
     rules apply:
13
     (i) At any time, on notice to the commanded person, the serving party may move the court for the district
14   where compliance is required for an order compelling production or inspection.
15   (ii) These acts may be required only as directed in the order, and the order must protect a person who is
     neither a party nor a party's officer from significant expense resulting from compliance.
16

17   (3) Quashing or Modifying a Subpoena.

18   (A) When Required. On timely motion, the court for the district where compliance is required must quash
     or modify a subpoena that:
19
     (i) fails to allow a reasonable time to comply;
20
     (ii) requires a person to comply beyond the geographical limits specified in Rule 45(c);
21

22   (iii) requires disclosure of privileged or other protected matter, if no exception or waiver applies; or

23   (iv) subjects a person to undue burden.

24   (B) When Permitted. To protect a person subject to or affected by a subpoena, the court for the district
     where compliance is required may, on motion, quash or modify the subpoena if it requires:
25
     (i) disclosing a trade secret or other confidential research, development, or commercial information; or
26


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     (ii) disclosing an unretained expert's opinion or information that does not describe specific occurrences in
 1   dispute and results from the expert's study that was not requested by a party.
 2
     (C) Specifying Conditions as an Alternative. In the circumstances described in Rule 45(d)(3)(B), the court
 3   may, instead of quashing or modifying a subpoena, order appearance or production under specified
     conditions if the serving party:
 4
     (i) shows a substantial need for the testimony or material that cannot be otherwise met without undue
 5   hardship; and

 6   (ii) ensures that the subpoenaed person will be reasonably compensated.

 7   (e) Duties in Responding to a Subpoena.
 8
     (1) Producing Documents or Electronically Stored Information. These procedures apply to producing
 9   documents or electronically stored information:

10   (A) Documents. A person responding to a subpoena to produce documents must produce them as they are
     kept in the ordinary course of business or must organize and label them to correspond to the categories in
11   the demand.

12   (B) Form for Producing Electronically Stored Information Not Specified. If a subpoena does not specify a
     form for producing electronically stored information, the person responding must produce it in a form or
13   forms in which it is ordinarily maintained or in a reasonably usable form or forms.
14
     (C) Electronically Stored Information Produced in Only One Form. The person responding need not
15   produce the same electronically stored information in more than one form.

16   (D) Inaccessible Electronically Stored Information. The person responding need not provide discovery of
     electronically stored information from sources that the person identifies as not reasonably accessible
17   because of undue burden or cost. On motion to compel discovery or for a protective order, the person
     responding must show that the information is not reasonably accessible because of undue burden or cost. If
18   that showing is made, the court may nonetheless order discovery from such sources if the requesting party
     shows good cause, considering the limitations of Rule 26(b)(2)(C). The court may specify conditions for
19   the discovery.

20   (2) Claiming Privilege or Protection.
21
     (A) Information Withheld. A person withholding subpoenaed information under a claim that it is privileged
22   or subject to protection as trial-preparation material must:

23   (i) expressly make the claim; and

24   (ii) describe the nature of the withheld documents, communications, or tangible things in a manner that,
     without revealing information itself privileged or protected, will enable the parties to assess the claim.
25
     (B) Information Produced. If information produced in response to a subpoena is subject to a claim of
26   privilege or of protection as trial-preparation material, the person making the claim may notify any party
     that received the information of the claim and the basis for it. After being notified, a party must promptly

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     return, sequester, or destroy the specified information and any copies it has; must not use or disclose the
 1   information until the claim is resolved; must take reasonable steps to retrieve the information if the party
     disclosed it before being notified; and may promptly present the information under seal to the court for the
 2   district where compliance is required for a determination of the claim. The person who produced the
     information must preserve the information until the claim is resolved.
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